                      UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

GRUBB & ELLIS/CENTENNIAL, INC., )
et al.,                         )
                                )
          Plaintiffs,           )
                                )
               v.               )             NO. 3:03-0016
                                )             Judge Campbell/Brown
GAEDEKE HOLDINGS, LTD., et al., )
                                )
          Defendants.           )
TO:    The Honorable Todd J. Campbell
                        REPORT AND RECOMMENDATION

I.    INTRODUCTION

            The District Judge has referred this matter to the

Magistrate Judge for a Report and Recommendation on the amount of

commissions   due    plaintiffs,       to   include    the   issue   of   whether

plaintiffs’ claim for a commission involving Bridgestone’s possible

execution   of    the   lease     in   2009   of   different    parts     of   the

defendants’ property is within the contemplation of the agreement,

or is otherwise ripe for decision at this time, and the amount of

attorneys’ fees and litigation expenses due the plaintiffs (Docket

Entry No. 86).

            For   the   reasons    stated     below,   the   Magistrate     Judge

recommends that the plaintiffs be awarded a commission in the

amount of $270,254.46, prejudgment interest in the amount of

$49,634.21, attorneys’ fees in the amount of $103,309.50, expenses

in the amount of $5,944.06, and that the matter of future




  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 1 of 24 PageID #: 435
commissions be determined not to be ripe at this time, and that

this case be closed.

II.   BACKGROUND

           The     plaintiffs,    Grubb   and    Ellis/Centennial,      Inc.

(“Grubb”) originally filed a complaint against Gaedeke Holdings,

Ltd., and Gaedeke Landers, LLC. (“Gaedeke”) in Davidson County

Chancery Court on December 10, 2002.              The defendant Gaedeke

promptly removed the matter to federal court on January 7, 2003

(Docket Entry No. 1).      In addition, on January 24, 2003, Gaedeke

filed an answer and a counterclaim against Grubb (Docket Entry No.

4).     The parties’ theories of the case were set forth in the

original case management order (Docket Entry No. 6) on March 3,

2003.    The plaintiffs’ theory essentially was that the plaintiff

was a licensed Tennessee real estate broker and that pursuant to a

leasing agreement between the plaintiffs and the defendants, the

plaintiffs were the leasing agent for office buildings owned by the

defendants in the Highland Ridge Office Park.            They allege that

after entering into this brokerage agreement, they were terminated

in January 2002. Under the agreement, they were, however, entitled

to broker’s commission, if within 90 days after termination the

property was leased to someone that the broker had negotiated with

either directly or indirectly.




                                     2



  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 2 of 24 PageID #: 436
             One of those projects was Bridgestone/Firestone.           They

allege that their share of the commission for this lease should

have been $270,254.46, which the defendants refused to pay.

             The defendants’ theory of the case was that they did not

owe this commission, since the plaintiffs had failed to use their

best efforts to lease space in the building.          They allege that the

plaintiffs     terminated    the   only    licensed    broker    reasonably

acceptable to the defendants to carry out the brokerage agreement

and did not replace this broker with an acceptable person.              This

lead them to believe that the plaintiffs had defaulted under the

agreement, and thus, precluded any payment of a commission.

             In addition, because they believed the plaintiffs had

failed to carry out its portion of the bargain, they insisted they

were entitled to reasonable attorneys’ fees and costs upon becoming

a prevailing party.

             Subsequently, the parties filed cross motions for summary

judgment. The plaintiffs’ being Docket Entry No. 12, filed May 20,

2003, and the defendants’ being Docket Entry No. 22, filed July 2,

2003. The parties also entered into a stipulation of facts for the

Court to consider in determining their cross motions for summary

judgment (Docket Entry No. 33).

             The District Judge subsequently granted the defendants’

motion for summary judgment and denied the plaintiffs’ motion for

summary judgment on October 16, 2003 (Docket Entry No. 35).              The


                                     3



  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 3 of 24 PageID #: 437
District Judge entered a memorandum on the matter (Docket Entry No.

34).   In this memorandum, the District Judge carefully summarized

the various contentions of the parties and the various agreements

leading up to their dispute. The District Judge held that a broker

is not entitled to a commission, where there is a good faith break

or hiatus in negotiation and a subsequent renewal of negotiations

without the broker’s participation (Docket Entry No. 34, p. 14).

At   this   point   in   the   proceedings,   the   defendants    were    the

prevailing parties.      The defendants filed a motion for attorneys’

fees (Docket Entry No. 37) and the plaintiffs filed a response to

the petition (Docket Entry No. 47).        The plaintiffs also appealed

the decision of the District Judge to the Sixth Circuit (Docket

Entry No. 53).

            Magistrate     Judge    Griffin     issued    a    Report     and

Recommendation recommending the defendants be allowed attorneys’

fees and litigation expenses in the amount of $22,281.92.               After

various objections, that report was not adopted, subject to being

renewed at the conclusion of the appeal to the Sixth Circuit

(Docket Entry No. 63).

            Subsequently, the Sixth Circuit reversed the granting of

summary judgment and remanded the case for further proceedings

(Docket Entry No. 66).         Thereafter, the parties were allowed to

file additional motions (Docket Entry Nos. 71 and 74). The District

Judge, on July 22, 2005, granted the plaintiffs’ renewed motion for


                                     4



  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 4 of 24 PageID #: 438
summary judgment in part and denied the defendants’ renewed motion

for summary judgment in its entirety.

             In the memorandum accompanying the order (Docket Entry

No. 79), the District Judge, in accordance with the holding of the

Sixth Circuit, after again summarizing the factual and procedural

background (Docket Entry No. 79, pp. 2-8), held that under ¶ 8.4 of

the agreement, the plaintiffs were entitled to a commission, even

if that brokerage agreement had been terminated and they had

provided     no   additional     services.          The    Court       rejected     the

defendants’ contention that a commission under this paragraph was

contingent upon the plaintiffs having satisfied other portions of

the agreement requiring them to perform various duties.                      The Court

concluded    that   payment    of   a     commission      under    ¶   8.4    was   not

contingent upon plaintiffs fulfilling other provisions of the

agreement (Docket Entry No. 79, pp. 11-12).

             The District Judge then directed the parties to brief the

issue   of   commissions   and      the    amount    of    attorneys’        fees   and

prejudgment interest that might be due in this case.                     The parties

were also directed to address the issue of whether plaintiffs’

claim for a commission involving Bridgestone’s possible execution

of a lease in 2009 for other parts of the defendants’ properties

was within the contemplation of the agreement or otherwise ripe for

a decision by the Court.




                                          5



  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 5 of 24 PageID #: 439
              Pursuant to the District Judge’s directions, the parties

have now fully briefed this issue (Docket Entry Nos. 86, 87, 88,

89, 90, 93, 94, 95, 96, 97, 99, 100, 103, 104, 105, and 106).                     As

may be seen from the number of pleadings related to the issue of

attorneys’ fees, the parties have addressed a considerable amount

of time and effort to this case.

              The plaintiffs claim a commission due and owing of

$270,254.46, which is the amount the defendants paid themselves

when   they    initially    determined     that   they    would      not   pay   the

plaintiffs     in   this   matter   (Docket   Entry      No.   87,    p.   2).   The

defendants did not contest this amount, if the plaintiffs are due

a commission.

              Next, the plaintiffs claim attorneys’ fees and expenses

in the amount of $130,778.06, as the prevailing party.                     This is

supported by a breakdown of the fees and expenses in Docket Entry

No. 90-2.     The defendants contest that the plaintiffs are entitled

to attorneys’ fees and expenses under the contract (Docket Entry

No. 85, p. 24).       The plaintiffs contend that Gaedeke justifiably

terminated the agreement and, therefore, there is no basis for

attorneys’ fees under the agreement. They further contend that the

fees, if allowed, should be limited to a more reasonable amount of

time and hourly rate, and should be limited to the period of time

after the Sixth Circuit decision in the case. They contend the law




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 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 6 of 24 PageID #: 440
was unsettled until the Sixth Circuit ruled (Docket Entry No. 85,

p. 25).

           Next, the plaintiffs request prejudgment interest in an

amount to be set by the Court.      They suggest that the proper amount

is $61,441.41 (Docket Entry No. 87, p. 7).            Alternatively, they

suggest that the Court could start the judgment date at a date when

the commission was first due, in which case calculated at the

maximum rate, the interest due would be $66,348.57 (Docket Entry

No. 87, pp.7-12).       The defendants contend that no prejudgment

interest should be allowed (Docket Entry No. 85, pp. 25-27).            They

contend that the law was uncertain until the Sixth Circuit ruled

and that equity should not favor the plaintiffs, inasmuch as they

did not fully perform under their agreement.

           Finally, the plaintiffs claim that they will be entitled

under the contract to commission, in the event that Bridgestone

exercises an option to extend its lease in 2009 (Docket Entry No.

87, pp. 12-15).     They argue that they are entitled to additional

commission under the contract and that issue should be determined

in their favor.     However, they agree that the amount of any such

additional commission will not accrue until Bridgestone either

renews or extends its present lease.         Both parties agree that, at

the present time, Bridgestone has given no indication that it will

or will not modify the space it presently leases.           The plaintiffs

contend that the Court should defer any ruling on this issue until


                                     7



  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 7 of 24 PageID #: 441
such time as a modification of the lease occurs that would justify

a commission and that, if such an event occurs, the defendants

should be required to notify the plaintiffs so that the plaintiffs

can then determine whether to assert a commission claim under the

listing (Docket Entry No. 87, pp. 12-13).

                The defendants argue that under no circumstances are the

plaintiffs entitled to additional commissions, since any renewals

will take place outside the terms of the existing contract.

                The    parties’    positions   are   vigorously    supported     by

affidavits, briefs, citations to the record, and case law.1

III. LEGAL DISCUSSION

                With this background, the Magistrate Judge will now turn

to a legal discussion of these four issues.

                                    Commission Due

                As an initial matter, the parties agree that the amount

of commission involved at this point is $270,254.46.                   This is the

amount         the    defendants    originally   calculated       as   being    the

commission which they paid to themselves.                      The only dispute

concerning the commission is whether the plaintiffs are entitled to

such       a   commission   under    the   contract.     The    defendants     have

presented the argument that the plaintiffs did not prevail under


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      The Magistrate Judge would like to commend the attorneys on
both sides for the way they have briefed and argued this matter.
While clearly the parties have sharp disagreement over the legal
issues presented, both sides have fully stipulated to facts not
in dispute and have conducted their briefing and argument in a
highly professional manner.

                                           8

  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 8 of 24 PageID #: 442
the contract and would be entitled to only such amount justified in

quantum meruit (Docket Entry No. 85, p. 15).

           With all due respect, the District Judge’s ruling in this

matter forecloses that argument.                 The District Judge, in his

memorandum (Docket Entry No. 79, p. 11), states

          In giving effect to the common and ordinary meaning
      of the language in the Agreement at issue here, the Court
      concludes that the payment of the commission under
      Paragraph 8.4 is not contingent on Plaintiff’s
      fulfillment of other provisions in the Agreement.

           The District Judge has also declined to modify or amend

his   original   holding   in   this   matter       (Docket     Entry   No.   91).

Accordingly, the Magistrate Judge recommends that the commission

fee in this matter be set at $270,254.46.

           The next issue the Magistrate Judge will address is that

of prejudgment interest.

                           Prejudgment Interest

           The   plaintiffs     seek       the    amount   of    $61,441.41     in

prejudgment interest (Docket Entry No. 87, p. 7).                 They point to

T.C.A. § 47-14-109(b), which provides that liquidated and settled

accounts, signed by the debtor, shall bear interest from the time

they become due, unless otherwise expressed.

           In this case, they point out that, as set forth in Docket

Entry No. 33, Exhibit 39, the amount owed in commission can be made

certain by mere computations.       The plaintiffs are correct in this

argument, inasmuch as the amount due on the initial commission is

not truly in dispute.

                                       9

  Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 9 of 24 PageID #: 443
           The   plaintiffs    further   contend    that    if   prejudgment

interest is not awarded under T.C.A. § 47-14-109(b), they are

entitled to prejudgment interest pursuant to T.C.A. § 47-14-123,

which provides that interest may be awarded in accordance with the

principals of equity at a rate not to exceed a maximum effective

rate of 10% per annum.     In this connection, they cite Performance

Systems, Inc. v. First American National Bank, 554 S.W.2d 616, 619

(Tenn. 1977), for the proposition that


         Although the defendant-assignee may have had grounds
     for believing that it had a legal defense to the claim
     for rent, it is hard to avoid the conclusion that it was
     trying to use the plaintiff’s property without paying for
     it.

           They argue that the defendants paid the commission to

themselves and it has now been determined that the commission was

due to the plaintiffs, and therefore, equity requires that they be

compensated for their loss of the use of this money during the time

the defendants retained the commission for their own use.                The

plaintiffs have provided the affidavit of a CPA, Mr. John Crow, to

calculate prejudgment interest on the commission of $270,254.46

(Docket Entry No. 89).

           The defendants point to the case of Myint v. Allstate

Insurance Co., 970 S.W.2d 920 (Tenn. 1998), for the proposition

that the trial court has considerable discretion in determining

whether to award prejudgment interest or not.              They argue that,

inasmuch as the plaintiffs did not fulfill all of their obligations


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 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 10 of 24 PageID #: 444
under the agreement, it is unfair for the plaintiffs to receive

prejudgment interest in this matter. They again argue that quantum

meruit is the only possible means for the plaintiffs to recover.

              The defendants argue that this was a close case shown by

the fact that they initially prevailed at summary judgment.                 Thus,

they contend that the plaintiffs’ entitlement to compensatory

damages was not clear and that in cases where compensatory damages

are not clear, the court should decline to award prejudgment

interest.      They also re-argue their point that the plaintiffs did

not fulfil all of their obligations under their agreement, and

therefore, should not be able to recover under the agreement.

              The Magistrate Judge believes that the plaintiffs have

the better portion of this argument.              As pointed out in the Myint

case, prejudgment interest can be awarded against a defendant, even

if the defendant’s original denial of the claim is reasonable.

Myint at 928.

              Likewise, the case of Rybarczyk v. TRW, Inc., 235 F.3d

975 (6th Cir. 2000), allows, among other rates, the interest rate

actually earned by defendants on the funds wrongfully withheld.

              At   oral   argument   in    this   matter,   the   parties     were

requested by the Magistrate Judge to provide the prime rate for the

period of time involved, and the parties indicated that they did

not have that particular rate but did indicate that it would be

less   than    the   rate   initially      suggested   by   Mr.   Crow   in   his

calculations (Docket Entry No. 89).

                                          11

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 11 of 24 PageID #: 445
           After considering all of the briefs and arguments of

counsel, the Magistrate Judge believes that the case law clearly

supports a discretionary award of prejudgment interest in this

matter.   The defendants paid a commission to themselves and thus

had the benefit of those funds for the entire time leading up to

the final decision of the District Judge in this matter. The cases

support a finding that those funds should have been available to

the plaintiffs and that they were deprived of the use of that

money.

           There are a number of rates that can be used in this

matter.   The Magistrate Judge has taken into account the fact that

the defendants did have a reasonable basis for their claim, and in

fact, initially prevailed in this matter.           Thus, the Magistrate

Judge believes that the appropriate rate to use is a rate that

would approximate the interest the plaintiffs would have received

had they been paid, as finally determined by the Court.            Although

a specific rate was not given by the parties, the Magistrate Judge

believes that a rate of 7% is equitable in this matter.                  The

Magistrate Judge has applied a 7% rate on the $135,077.23 from

October 14, 2002 until March 19, 2003.         That interest amounts to

$4,041.21.   The Magistrate Judge has then applied the 7% rate to

the $270,154.46 from March 19, 2003 until August 15, the date of

the entry of judgment for the plaintiffs in this matter.               That

amount at 7% simple interest is $45,593.00, for a total interest

award of $49,634.21.

                                    12

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 12 of 24 PageID #: 446
                       Attorneys’ Fees and Costs

           The next issue to be addressed is that of attorneys’

fees. The plaintiffs have submitted a claim for attorneys’ fees in

this matter of $124,834.00 and costs of $5,944.06, for a total

claim of $130,778.06 (Docket Entry No. 90, Exhibit 1).                   The

plaintiffs point out in their opening brief (Docket Entry No. 87,

p. 4) that they are the prevailing party and that ¶ 15.4 of the

contract provides that if a dispute arises between owner and

broker, under the terms of this agreement, and such dispute results

in judicial action, the prevailing party shall be entitled to

recover, as part of such action, its reasonable attorneys’ fees and

court costs.

           The defendants make an initial argument that ¶ 15.4 of

the agreement does not govern this matter, since it provides for

attorneys’ fees and costs only if a dispute arises between the

owner and broker, under the terms of this agreement.            They argue

that since the plaintiffs did not fulfill its side of the bargain,

the   defendant   justifiably     terminated    the    agreement    thereby

rendering it unenforceable, and that the plaintiff therefore is not

able to recover under the terms of the agreement (Docket Entry No.

85, p. 24-25).

           With all due respect, this argument lacks merit.           As an

initial matter, the Magistrate Judge would note that when the shoe

was on the other foot, and the defendants believed they were the

prevailing party, they had no difficulty in seeking attorneys’ fees

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 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 13 of 24 PageID #: 447
at that time (see Docket Entry No. 37).                 The litigation in this

case clearly arises because of the leasing agreement in this matter

and has required the Court to interpret its meaning.                    Thus, the

Magistrate Judge believes that the law is clear that under the

contract    the     prevailing    party    is    entitled   to    its   reasonable

attorneys’ fees and costs.

            The defendants further object to any attorneys’ fees to

be awarded for work prior to the decision of the Sixth Circuit.

Again, the Magistrate Judge believes that this argument lacks

merit.    While certainly there was a disagreement as to the meaning

of the agreement, the fact remains that a dispute arose under it

and the agreement provides for attorneys’ fees to the prevailing

party.

            The final issue is as to the reasonableness of the

attorneys’ fees and costs in this matter.               Plaintiffs’ counsel has

submitted an affidavit with an attached explanation of his fees and

costs (Docket Entry No. 90).         The defendants have objected to the

hourly rate, pointing out that their hourly rate is considerably

less than that of the plaintiffs, and that they spent far less time

litigating the matter.            Thus, they contend, in short, that a

reduction in both the hourly rate and amount spent is appropriate

(Docket Entry No. 95).       The argument over attorneys’ fees produced

a number of affidavits by the law firms involved (see Docket Entry

Nos. 90, 95, 104, 105, 106, among others). In addition, plaintiffs

have     used   a   survey   by    Altman       Weil,   Inc.     to   support   the

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 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 14 of 24 PageID #: 448
reasonableness of their fees (Docket Entry No. 103, Exhibit 1).

           The defendants have objected to any use of this survey as

hearsay (Docket Entry No. 106). The Magistrate Judge believes that

the survey can be considered by the Magistrate Judge, inasmuch as

it is a document relied upon by the plaintiffs’ counsel in fixing

their fees.

           In this case, we essentially have competing affidavits of

the firms.     Neither side has provided an opinion by an outside,

disinterested attorney as to the reasonableness of either the

hourly rate or the amount of time claimed by the plaintiffs.                 Such

an outside affidavit would have been given more weight than the

inherently self-serving declaration of the attorneys in question.

           Disputes    over    attorneys’     fees      are   among    the   most

difficult matters courts have to resolve. Accordingly, judges have

been given wide discretion in determining the reasonableness of

attorneys’ fees.    See Auto Alliance International, Inc. v. United

States Customs Service, 2005 WL 3149673 (6th Cir. Nov. 23, 2005);

Hensley   v.   Eckerhart,     461   U.S.   424,   437    (1983);      Coulter   v.

Tennessee, 805 F.2d 146 (6th Cir. 1986).

           In this case, Mr. Panther in his affidavit (Docket Entry

No. 95) points out that plaintiffs’ counsel claimed a total of 460

billing hours in this matter, while he spent only 255 billing hours

on the same matter.     While he agrees that plaintiffs’ counsel was

required to expend additional time in preparing the stipulation and

joint appendix, this would only add an additional 41 hours.                     He

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 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 15 of 24 PageID #: 449
contends that other than this 41 hours, both sides were addressing

the same law, briefing the same issues, and writing and reviewing

the same pleadings.     He contends that the amount of time spent by

plaintiffs’ counsel is, therefore, excessive.         He further contends

that the hourly rate charged by plaintiffs’ counsel is high.              In

his view, a billing rate for plaintiffs’ lead counsel of $315 is

unreasonably high, as is the billing rate for other plaintiffs’

attorneys in the matter. He points out that attorneys with similar

experience to plaintiffs’ lead counsel are billing at rates between

$225 and $250 an hour.      He points out that his own rate in this

matter varied between $150 and $175 per hour.

           The plaintiffs have responded with an affidavit of their

own, contending that their rates are not too high.            It is simply

that the defendants’ counsel’s rates are too low.              Given these

competing affidavits, the Court is left with attempting to sort out

what is a reasonable rate and a reasonable amount of time in this

case.2   The survey cited by plaintiffs’ counsel is not of great

help because it does not show what firms were involved and what

types of cases were specifically involved.         The survey only gives

general information and certainly gives no information about the


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      The Magistrate Judge has applied the well-known lodestar
test in order to determine a reasonable fee in this case.
Plaintiffs’ counsel obtained an excellent result for his client
and is, therefore, entitled to a fee equal to a reasonable hourly
rate multiplied by the amount of time reasonably spent in the
case. The Magistrate Judge does not believe that there is any
basis for adjusting that determination either up or down. This
was straightforward commercial litigation.

                                    16

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 16 of 24 PageID #: 450
amount of time that is reasonably spent on a case.             The Magistrate

Judge,   from     reviewing   other   fee   dispute     matters       and   from

participation in a number of settlement conferences, has a general

idea of fees charged by attorneys in the Nashville area.

            Plaintiffs’ lead counsel is an experienced attorney, who

in   fact   has    obtained   an   excellent   result    for    his    client.

Accordingly, the Magistrate Judge does not question the necessity

of awarding attorneys’ fees in this matter.           They are provided for

in the contract.     The only issue remaining is what is a reasonable

fee and a reasonable amount of time.        In considering the amount of

time spent in this matter, the Magistrate Judge has carefully

reviewed the request for fees and expenses (Docket Entry No. 90,

Exhibit 1). As an initial matter, the breakdown is not as complete

as the Magistrate Judge would like. A number of substantial blocks

of time include a number of different things.             For instance, an

entry on 8-20-2002 shows telephone conferences, outline of issues

to be discussed, and an actual meeting, which consumed 4½ hours.

From breakdowns such as this, it is difficult for the Magistrate

Judge to understand how much was involved in actually meeting with

clients and witnesses and what was simply spent on a telephone

conversation.

            It has been the Magistrate Judge’s experience, as a trial

attorney for a number of years, that the attorney who is on the

offense in a particular case will normally be required to expend

more time than an attorney in a defensive posture.              In this case,

                                      17

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 17 of 24 PageID #: 451
plaintiffs’ counsel had to initially research and file their case,

while   defendants’    counsel    simply   had     to   respond   to   those

allegations.    Plaintiffs’ counsel lost the initial round of the

case and was therefore responsible for again being on the offensive

in litigating the matter in the Sixth Circuit.               This, in the

Magistrate Judge’s experience, would require more time than would

be expended by the defending counsel.            Nevertheless, there does

appear to be a substantial difference in the amount of time spent

by the two counsel, even allowing for the admitted additional

requirement of some 41 hours for preparation of the stipulations

and joint appendix.      Accordingly, the Magistrate Judge believes

that the amount of billing hours in this matter should be reduced

from 460.35 hours to 375 hours.

           The billing rate for Mr. Neenan shows that he began work

on this case with a billing rate of $250 an hour, which increased

to his current billing rate of $315 per hour.             Given the rates

charged by other attorneys in this matter, the Magistrate Judge

believes that it is more appropriate to use an average rate for the

period of time involved and that a reasonable rate for plaintiffs’

lead counsel would be $270.00 per hour.

           The rate for the other two partners in the matter should

be $200 per hour for the limited amount of work they did.          The work

for the associate involved appears appropriate, as well as the rate

for the paralegals and the law clerk.



                                    18

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 18 of 24 PageID #: 452
            At oral argument, counsel for the plaintiffs advised that

he   had   attempted   to    use   a   law    clerk   wherever   possible   for

electronic research.        He pointed out that, because of the unusual

nature of some of the pleadings in this matter, such as a truly

unpublished opinion, electronic research was particularly critical

and a law clerk was better at performing electronic research than

he was.    The use of a law clerk, of course, would reduce the fee

charged in this matter.

            Accordingly, the Magistrate Judge recommends that 2 hours

be allowed at a rate of $200 for the two other partners in this

matter for a total of $400 and an allowance of 1 hour for an

associate at $140 an hour, for a total of $140.

            The rate for the paralegal for 3½ hours at $75 and $85

per hour should be $289.50.         The 25 hours for the law clerk at $80

per hour should be $2,040.             Plaintiffs’ lead counsel should be

allowed 372 hours at $270 per hour for a total of $100,440.00,

making a grand total for fees of $103,309.50.

            The   Magistrate       Judge     has   also   reviewed    the   cost

disbursement and finds that there were no specific objections filed

to the cost summary. The Magistrate Judge would note that there is

no explanation for the $1,429.29 claim for professional services.

Without some explanation of what professional services were, the

Magistrate Judge would normally disallow this amount.                However, it

is likely the expense was for the CPA report.               In the absence of

any objection, expenses will be allowed in the amount of $5,944.06.

                                        19

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 19 of 24 PageID #: 453
                           Future Commission

            The final issue to be determined is the issue of future

commissions.    Is the plaintiffs’ claim for a commission involving

Bridgestone’s possible execution of renewal or new leases within

the contemplation of the leasing brokerage agreement between the

parties and otherwise ripe for a decision by the Court at this

time?

            During oral argument, the parties agreed that this was

the question presented. The parties have different views as to its

outcome.     The plaintiffs believe that the Court should make a

determination that plaintiffs are entitled to additional commission

under Section 8 of the agreement, if in fact Bridgestone renews or

expands its current lease.      They agree that the amount, if any, of

such additional commission will not accrue until Bridgestone either

renews or extends the terms of its lease or expands the amount of

property it leases.       Accordingly, they believe that the Court

should instruct the defendants to promptly notify the plaintiffs if

any of the circumstances triggering an additional commission occur

so that the plaintiffs may then determine whether to assert a

commission claim.

            From a review of the documents in the case, as summarized

by   the   plaintiffs’   (Docket   Entry   No.   87,   pages   12-15),   and

defendants’ memorandum (Docket Entry No. 85, pages 23-25), it

appears that Bridgestone is not required to exercise its rights to

extend the lease until December 31, 2008.           It also appears that

                                    20

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 20 of 24 PageID #: 454
Bridgestone may have a right of first refusal, if additional space

becomes available.      All parties have agreed that at the present

time there has been no change in the original lease.

             The defendants say that the Court should firmly rule that

there   is    no   entitlement   to    additional   commissions,     should

Bridgestone exercise any of its options, and the Court should so

hold at the present time.         Alternatively, they agree with the

plaintiffs that the matter is not ripe for determination at this

time, and therefore, it would be inappropriate for the Court to

determine at the present time that they are required to pay, should

Bridgestone exercise any of its rights.

             Clearly the matter is not ripe for determination at the

present time. Bridgestone has not exercised any of its options and

it is not clear that they will exercise such options.           It appears

that it will likely be December 31, 2008, before they are required

to exercise the main part of their options.

             While the parties have extensively briefed the issue of

whether there is a right to a commission on any future renewals or

expansions, the Magistrate Judge believes that the matter cannot be

determined at the present time.            There are a number of issues

raised concerning the overall contract and the alleged performance

or non-performance by the parties that, in the Magistrate Judge’s

view, preclude a determination at the present time as to whether

there is or is not an entitlement to any future commission.              The

defendants have pointed out that there are a number of contract

                                      21

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 21 of 24 PageID #: 455
restrictions, including renewals within 10 years, and contentions

by the plaintiffs as to whether the defendants have waived any

limitations by renewing a contract with Mr. Cherry, which are

countered by the defendants’ contention that Mr. Cherry would be

entitled to additional commissions only if he is a broker at the

time of the renewal.

           All of these are matters, in the Magistrate Judge’s view,

which would require additional proof, particularly since it is

unsure whether there will be any exercise by Bridgestone of an

option which could trigger a potential commission.           The matter is

simply not ripe.

           If at some future date Bridgestone does exercise some

rights under the lease, the matter could be litigated with a new

lawsuit at that time.     It simply does not seem practical to keep a

case open for an additional three years or more, for an event that

may never happen.

           The Magistrate Judge would note that the defendants in

this case have argued at various times that the plaintiffs have

breached the agreement by failing to adequately perform.              Those

alleged breaches were deemed not to control the commissions due in

this matter.   Defendants are not foreclosed from a suit for breach

of contract on these alleged deficiencies.

           Given the litigation to date, and its high costs, the

Magistrate Judge might suggest that the parties consider putting an

end to all the litigation involving this contract.           However, that

                                    22

 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 22 of 24 PageID #: 456
is a matter outside the Magistrate Judge’s charge and his comments

that the parties should perhaps finally walk away from this

litigation are pure dicta.

IV.   RECOMMENDATION

           In    conclusion,   for   the   reasons     stated     above,    the

Magistrate Judge recommends that the plaintiffs be awarded a

commission in the amount of $270,254.46, prejudgment interest in

the   amount    of   $49,634.21,   attorneys’   fees   in   the    amount   of

$103,309.50, expenses in the amount of $5,944.06, and that the

matter of future commissions be determined not to be ripe at this

time, and that this case be closed.3

           Under Rule 72(b) of the Federal Rules of Civil Procedure,

any party has ten (10) days from receipt of this Report and

Recommendation in which to file any written objections to this

Recommendation, with the District Court.         Any party opposing said

objections shall have ten (10) days from receipt of any objections

filed in this Report in which to file any responses to said

objections.     Failure to file specific objections within ten (10)

days of receipt of this Report and Recommendation can constitute a

waiver of further appeal of this Recommendation.            Thomas v. Arn,

474 U.S. 140, 106 S.Ct. 466, 88 L.Ed.2d 435 (1985), reh’g denied,

474 U.S. 1111 (1986).




      3
      The Magistrate Judge would hope there would be no further
fee applications, if this report and recommendation is accepted.

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 Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 23 of 24 PageID #: 457
          ENTERED this 22nd day of December, 2005.


                                        /s/ Joe B. Brown
                                        JOE B. BROWN
                                        United States Magistrate Judge




                                   24

Case 3:03-cv-00016 Document 110 Filed 12/22/05 Page 24 of 24 PageID #: 458
